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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                               October 20, 2020
                         UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION

UNITED STATES OF AMERICA                     §
                                             §
VS.                                          § CRIMINAL ACTION NO. 6:20-CR-31-5
                                             §
TAMERA TROUTMAN ADAMS                        §


 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

       A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The government presented the testimony of Department of Public

Safety Officer John Kopacz.      Both sides argued their positions to the Court.        The

following requires detention of the defendant pending trial in this case:

       (1)    There is probable cause to believe the defendant committed an offense for

which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C.

§ 841(b)(1)(A); and

       (2)    The defendant has not rebutted the presumption that no condition or

combination of conditions will reasonably assure the appearance of the defendant as

required and the safety of the community.

       The evidence against the defendant meets the probable cause standard.            The

defendant is charged with a serious offense involving a significant amount of

methamphetamine (testimony established conspiracy involves approximately ten

kilograms of methamphetamine), has four prior drug-related felony convictions, has

previously had her federal supervised release revoked by the Court, and has serious

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felony charges pending in state court to include abandoning/endangering a child. The

Defendant is a poor candidate for bond. The findings and conclusions of United States

Pretrial Services are adopted.

       The defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.



       ORDERED this 20th day of October, 2020.


                                             ___________________________________
                                             Julie K. Hampton
                                             United States Magistrate Judge




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